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                                       UNITED STATES DISTRICT COURT
                                                Western                                                              -8    2013
                                                               District of    Texas
                                                      SAN ANTONIO DIVISION
                                                                                                    CLERK                   CT COURT
                                                                                                    WESTE                    OF TEXAS
 UNITED STATES OF AMERICA

         v.                                                             Case Number       SA-11-CR-425(1)F
                                                                        USM Number        07416-090
 DEKA ABDALLA SHEIKH,
 Aliases: Deka Denashe; Deka AbdaUa Sheikh Ibrahim; Hajji Abdel Sheikh Ibrahim; Deka
                                                                                     Abdall A Sheikh
 Ibrahim; Deka Abdall Sheikh Ibrahim; Deka Abdullah Sheikh; Deka A. Sheikh-Ibrahim

       Defendant.
                                            JUDGMENT IN A CRIMINAL CASE
                                    (For Offenses Committed On or After November 1, 1987)



         The defendant, DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla
                                                                                      Sheikh Ibrahim; Hajji Abdel Sheikh
Ibrahim; Deka Abdall A Sheikh Ibrahim; Deka Abdall Sheikh Ibrahim; Deka Abdullah
                                                                                 Sheikh; Deka A. Sheikh-Ibrahim, was
represented by Mr. Javier N. Maldonado, Esquire.

         On motion of the United States, the Court has dismissed the remaining
                                                                               counts as to this defendant.
        The defendant pled guilty to Count(s) Two of the Indictment on September 20, 2012.
                                                                                           Accordingly, the defendant is
adjudged guilty of such Count(s), involving the following offense(s):


Title & Section            Nature of Offense                                    Offense Ended                     Count   (5)

18 USC 371 & 1001          Conspiracy to Make False Statements to               Date of this Indictment           Two
                           Executive Branch in Terrorism Investigation          (May 25, 2011)
       As pronounced on July 24, 2013, the defendant is sentenced as provided in
                                                                                 pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is further ordered that the defendant shall notify the United
                                                                          States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special
                                                                                                 assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court
                                                                                              and United States Attorney of any
material change in the defendant's economic circumstances.

         Signed this the    )    day of August, 2013.




                                                                                      c

                                                                                          FRED   BIER/
                                                                         CHIEF UNITED                  ISTRICT JUDGE
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AO 245 B   (Rev. 06/05)(W.D.TX.)   Probation


                                                                                                             Judgment--Page 2
Defendant: DEK.AABDALLA SHEIKH, Aliases: Deka Denashe; DekaAbdalla Sheikh lbrahim; (see page 1)
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                                                           PROBATION

           The defendant is hereby placed on supervised probation for a term of 5 years.

        While on probation, the defendant shall comply with the mandatory, standard and if applicable, the special conditions
that have been adopted by this Court.

                    The defendant shall not have any contact with the co-defendant or his family members.
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 AO 245 B (Rev. 05/04)(W.D.TX.)         Supervised Release

                                                                                                                          Judgment--Page 3
 Defendant: DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh Ibrahim; (see page 1)
 Case Number: SA-11-CR-425(1)FB
                                          CONDITIONS OF PROBATION
 Mandatory Conditions:
 1)   The defendant shall not commit another federal, state, or local crime during the term of supervision.

2)    The defendant shall not unlawfully possess a controlled substance.

3)    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
      15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined
                                                                                                                           by the court)
      for use of a controlled substance, but the condition stated in this paragraph may be ameliorated or suspended by the court if the
      defendant's presentence report or other reliable sentencing information indicates low risk of future substance abuse by the
      defendant.

4)    In supervised release cases only, the defendant must report to the probation office in the district to
                                                                                                             which the defendant is
      released within 72 hours of release from custody of the Bureau of Prisons.

5)    If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any
                                                                                                                  other dangerous
      weapon.

6)    The defendant shall cooperate in the collection of DNA as directed by the probation officer, if the collection of such a sample
                                                                                                                                      is
      authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. 14135a).
                                                                                                          §
7)    If convicted of a sexual offense and required to register under the Sex Offender and Registration Act, that the
                                                                                                                      defendant comply
      with the requirements of the Act.

8)    If convicted of a domestic violence crime as defined in 18 U.S.C. 3561(b), the defendant shall participate in an
                                                                       §                                               approved
      program for domestic violence.

9)    If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
                                                                                                                                the
      Schedule of Payments sheet of the judgment.

Standard Conditions:

1)    The defendant shall not leave the judicial district without permission of the court or probation officer.

2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4)    The defendant shall support his or her dependents and meet other family obligations, and shall comply with
                                                                                                                 the terms of any court
      order or order of an administrative process requiring payments by the defendant for the support and maintenance of a child or of a
      child and the parent with whom the child is living.

5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
                                                                                                                                     other
      acceptable reasons.

6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.

7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9)    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with
                                                                                                                   any person convicted
      of a felony, unless granted permission to do so by the probation officer.

10)   The defendant shall permit a probation officer to visit him or her at anytime, at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view of the probation officer.
11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
                                                                                                                         enforcement
      officer.
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AO 245 B (Rev. 05/04)(W.D.TX.) - Supervised Release


                                                                                                                         Judgment--Page 4
Defendant: DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh Ibrahim; (see page 1)
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 12)    The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court.

13)    As directed by the probation officer, the defendant shall notify third parties of risks that my be occasioned by the defendant's
       criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications, and to
       confirm the defendant's compliance with such notification requirement.

14)    If convicted of a sex offense as described in the Sex Offender Registration and Notification Act or has a prior conviction of a
                                                                                                                                       State
       or local offense that would have been an offense as described in the Sex Offender Registration and Notification Act if a
       circumstance giving rise to federal jurisdiction had existed, the defendant shall participate in a sex offender treatment program
       approved by the probation officer. The defendant shall abide by all program rules, requirements and conditions of the sex
       offender treatment program, including submission to polygraph testing, to determine if the defendant is in compliance with the
       conditions of release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount
       to be determined by the probation officer, based on the defendant's ability to pay.

15)    The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation
                                                                                                                               officer,
       and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the probation
                                                                                                                                 officer
       for treatment of narcotic addiction or drug or alcohol dependency which may include testing and examination to
                                                                                                                       determine if the
       defendant has reverted to the use of drugs or alcohol. During treatment, the defendant shall abstain from the use of alcohol and
       any and all intoxicants. The defendant may be required to contribute to the cost of the services rendered
                                                                                                                 (copayment) in an
       amount to be determined by the probation officer, based upon the defendant's ability to pay.

16)    The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if
                                                                                                                             deemed
       necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation officer.
       The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be
                                                                                                                          determined by
       the probation officer, based upon the defendant's ability to pay.

17)    The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer,
                                                                                                                         and if deemed
       necessary by the probation officer. Such program may include group sessions led by a counselor or participation in a program
       administered by the probation office. The defendant may be required to contribute to the cost of the services rendered
       (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

18)    The defendant shall participate in workforce development programs and services as directed by the probation
                                                                                                                      officer, and if
       deemed necessary by the probation officer, which include occupational/career development, including but not limited to
       assessment and testing, education, instruction, training classes, career guidance, job search and retention services until
       successfully discharged from the program. The defendant may be required to contribute to the cost of the services rendered
       (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

19)    If the defendant is excluded, deported, or removed upon release on probation or supervised release, the
                                                                                                                 term of supervision shall
       be a non-reporting term of probation or supervised release. The defendant shall not illegally reenter the United
                                                                                                                        States. If the
       defendant lawfully reenters the United States during the term of probation or supervised release, the defendant shall
                                                                                                                             immediately
       report in person to the nearest U.S. Probation Office.

20)    If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant
                                                                                                                      pay such penalties in
       accordance with the Schedule of Payments sheet of the judgment.

21)    If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a
                                                                                                                      condition of
       supervision that the defendant shall provide the probation officer access to any requested financial information.

22)    If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
       supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of
                                                                                                                                        the
       probation officer, unless the defendant is in compliance with the payment schedule.
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AO 245 B (Rev. 05/04'i(W.D.TX.) Suoervised Release


                                                                                                                          Judgment--Page 5
Defendant: DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh Ibrahim; (see page 1)
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The Court further adopts such of the following special conditions applied to the supervised person by the
                                                                                                          judge at the time of
sentencing:

1)   Community Confinement: The defendant shall reside in a Community Corrections Center for a period of       months to
     commence on ____________. Further, once employed, the defendant shall pay 25% of his/her weekly gross income for his/her
     subsistence as long as that amount does not exceed the daily contract rate.

     Location Monitoring Program:
2)   Radio Frequency Monitoring: The defendant shall participate in the Location Monitoring Program with Radio Frequency
     Monitoring for a period of        days/months. You shall abide by the rules and regulations of the Participant Agreement Form.
     During this time, you will remain at your place of residence except for employment and other activities approved in
                                                                                                                            advance by
     your probation officer. You will maintain a telephone at your place of residence without "caller ID," "call forwarding,"
                                                                                                                              "call waiting,"
     "call back/call block," a modem or a portable cordless telephone for the above period as directed by the
                                                                                                               probation officer. You will
     wear an electronic monitoring device and follow location monitoring procedures specified by your probation officer.
                                                                                                                          You shall pay
     all or part of the costs of the program based on the ability to pay as directed by the probation officer.

3)   Global Positioning Satellite (GPS): The defendant shall participate in the Location Monitoring Program for a term not to exceed
            days/months, which will include remote location monitoring using         Active        Passive Global Positioning Satellite
     (GPS) tracking. You shall abide by the rules and regulations of the Participant Agreement Form. During this
                                                                                                                        time, you will remain
     at your place of residence except for employment and other activities approved in advance by your probation
                                                                                                                         officer. You will
     maintain a telephone at your place of residence without "caller ID," "call forwarding," "call waiting," "call
                                                                                                                   back/call block," a modem
     or a portable cordless telephone for the above period as directed by the probation officer. At the direction of the probation
                                                                                                                                       officer,
     you shall wear a transmitter and be required to carry a tracking device. You shall pay all or part of the costs of the
                                                                                                                               program based
     on the ability to pay as directed by the probation officer.

4)   Community Service: The defendant shall perform             hours of community service work without pay, at a location approved by
     the probation officer, at a minimum rate of four hours per week, to be completed during the first     months of supervision.
5)   Sex Offender Search & Seizure Condition: If required to register under the Sex Offender Registration and Notification Act, the
     defendant shall submit his person, and any property, house, residence, vehicle, papers, computer, other electronic
                                                                                                                          communication
     or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
                                                                                                                enforcement or probation
     officer with reasonable suspicion concerning a violation of a condition of probation or supervised release or
                                                                                                                   unlawful conduct by
     the person, and by any probation officer in the lawful discharge of the officer's supervision
                                                                                                   functions.
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 AO 245 B (Rev. 06/05)(W.D.TX.) - CMP


                                                                                                                                                                   Judgment--Page 6
 Defendant: DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh Ibrahim; (see page 1)
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                                                         CRIMINAL MONETARY PENALTIES! SCHEDULE

           The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
 set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
 monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal
 Bureau of Prisons' Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 655 E.
 Cesar E. Chavez Blvd, Room G-65, San Antonio, Texas 78206.
           The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

                                                  Assessment                                     Fine                                            Restitution
   TOTAL:                                         $100.00                                        $0                                              $0

                                                                               Special Assessment

             It is ordered that the defendant shall pay to the United States a special assessment of $100.00.


                                                                                            Fine

             The fine is waived because of the defendant's inability to pay.


                                                                             Schedule of Payments

         Payment shall be made at the rate of no less than $10.00 per month, due by the third day of each month beginning
immediately. The Court imposed payment schedule shall not prevent statutorily authorized collection efforts by the
                                                                                                                   U.S.
Attorney. The defendant shall cooperate fully with the U.S. Attorney and the U.S. Probation Office to make payment in full as
soon as possible.




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned
                                                                                                            payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. 3664(i), all non-federal victims must be
                                                                   §                                         paid before the United States is paid.

            If the fine is not paid, the court may sentence the defendant to any sentence which might have
                                                                                                           been originally imposed. See 18 U.S.C. §3614.

          The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution
                                                                                                                             is paid in full before the fifteenth day after the date of
the judgment, pursuant to 18 U.S.C. §361 2(l. All payment options may be subject to penalties for delinquency
                                                                                                                and default, pursuant to 18 U.S.C. §3612(g).
             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution
                                                                                                                          interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for
                                                                                                                             offenses committed on or after September 13, 1994,
but before April 23, 1996.
